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                                                EXHIBIT A

 TRANSFERS FROM DEBTOR BANK ACCOUNTS TO SALAME BANK ACCOUNTS

       Date                   Debtor Bank Account             Amount22     Salame Bank Account
March 15, 2022             FTX Digital Markets Ltd.         BSD $3,932     Unknown
                           Fidelity Bank Bahamas
                           #0150
April 22, 2022             North Dimension Inc.             $500,000       Greylock #1948
                           Silvergate #8738
April 25, 2022             North Dimension Inc.             $350,000       Greylock #1948
                           Silvergate #8738
May 2, 2022                North Dimension Inc.             $300,000       Greylock #1948
                           Silvergate #8738
May 9, 2022                North Dimension Inc.             $5,000,000     Greylock #1948
                           Silvergate #8738
May 10, 2022               North Dimension Inc.             $3,000,000     Greylock #1948
                           Silvergate #8738
May 11, 2022               North Dimension Inc.             $200,050       Greylock #1948
                           Silvergate #8738
May 13, 2022               North Dimension Inc.             $3,250,050     Greylock #1948
                           Silvergate #8738
May 20, 2022               North Dimension Inc.             $5,000,100     Greylock #1948
                           Silvergate #8738
May 25, 2022               North Dimension Inc.             $1,500,000     Signature #0072
                           Silvergate #8738
May 25, 2022               North Dimension Inc.             $4,000,000     Signature #0072
                           Silvergate #8738
June 16, 2022              North Dimension Inc.             $3,000,000     Signature #0072
                           Silvergate #8738
July 1, 2022               North Dimension Inc.             $5,000,000     Signature #0072
                           Silvergate #8738
July 11, 2022              North Dimension Inc.             $5,000,000     Signature #0072
                           Silvergate #8738
August 5, 2022             North Dimension Inc.             $756,264       Signature #0072
                           Silvergate #8738
August 15, 2022            North Dimension Inc.             $2,000,000     Signature #0072
                           Silvergate #8738
August 15, 2022            North Dimension Inc.             $3,500,000     Signature #0072
                           Silvergate #8738
August 15, 2022            North Dimension Inc.             $4,500,000     Signature #0072
                           Silvergate #8738
September 7, 2022          North Dimension Inc.             $3,000,000     Signature #0072
                           Silvergate #8738
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     Amount is in USD unless otherwise specified.

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       Date           Debtor Bank Account       Amount22      Salame Bank Account
October 3, 2022    North Dimension Inc.       $1,000,000      Signature #0072
                   Silvergate #8738
October 12, 2022   North Dimension Inc.       $1,500,000      Signature #0072
                   Silvergate #8738
November 4, 2022   North Dimension Inc.       $500,000        Signature #0072
                   Silvergate #8738




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